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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America )
v. )
) Case No.
LARRY CHARVEL BROWN 8:23-mj-1178-CPT
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 21, 2023 in the county of Pasco in the
Middle District of Tampa , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 841 Possession with Intent to Distribute a Controlled Substance

This criminal complaint is based on these facts:

See attached affidavit.

Continued on the attached sheet.

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- — 7 : .
Complainant's signature

Special Agent Nathaniel M. Russ, FBI

 

Printed name and title

Sworn to before me and signed in my presence.

Date: : Jhasl ag 2aes (rdrre ?. AL ly

Judge's signature
City and state:
Tampa, FL CHRISTOPHER P. TUITE, U.S. Magistrate Judge

 

 

Printed name and title
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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

 

I, Nathaniel M. Russ, a Special Agent with the Federal Bureau of

Investigation (FBI), being duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

 

1. I am a Special Agent with the FBI, and I have been employed with the
FBI since March 2020. After completing FBI Academy training, I was assigned to
the FBI Tampa Division, Tampa Field Office. I am presently assigned to the FBI
Tampa Division, Violent Crime Task Force, where my duties include investigating a
variety of criminal violations of federal laws, including but not limited to,
gang/criminal enterprise investigations, crimes of violence, drug trafficking, firearms
offenses, and threat investigations.

2. This affidavit is made in support of an application for an arrest warrant
for Larry Charvel Brown in violation of 21 U.S.C § 841 Possession with Intent to
Distribute a Controlled Substance. The evidence shows that on February 21, 2023,
Brown possessed 50 grams or more of a substance containing a mixture of
methamphetamine, and approximately 21 grams including bag weight of suspected
fentanyl during a traffic stop conducted at 35235 Janine Drive, Zephyrhills, Florida
33541 by the Florida Highway Patrol (“FHP”) at approximately 11:45 a.m.

3. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other law enforcement

officers. This affidavit is intended to show merely that there is sufficient probable
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cause for the requested warrant and does not set forth all of my knowledge about this
matter.
PROBABLE CAUSE

4, Brown previously pleaded guilty to an information on or about August
25, 2022, for possession with intent to distribute 500 grams or more of a mixture and
substance containing a detectable amount of cocaine. See United States v. Larry
Charvel Brown, Case No. 8:22-cr-224-SDM-AEP. He is on pretrial release and his
sentencing is scheduled before Judge Merryday on April 11, 2023.

5. Since January 2023, FBI, PCSO, and ZPD have been investigating a
drug-trafficking organization (hereinafter, “DTO”) based out of Pasco County, FL.
Brown was identified by ZPD and PCSO as a drug dealer who was buying and
selling large quantities of methamphetamine and fentanyl.

6. FBI learned that Brown was living at 32347 Fish Hook Loop, Wesley
Chapel, Florida 33545 (‘PREMISES”). Brown provided the aforementioned address
to his pretrial services officer. Additionally, FBI knew Brown to be utilizing a gold
Chevrolet Equinox bearing Florida tag “QNXRO5” (hereinafter, “Gold Equinox”).
During several previous surveillance operations and spot-checks, the Gold Equinox
was observed parked nearby the PREMISES.

7. On February 21, 2023, FBI, FHP, PCSO, and ZPD conducted a
surveillance operation of Brown. An FBI surveillance plane was utilized during the

surveillance operation.
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8. On February 21, 2023, at approximately 10:10 a.m., Brown was
observed leaving the PREMISES and entered the Gold Equinox. Brown was then
observed driving to the Publix grocery store located at 32765 Eiland Boulevard,
Zephyrhills, Florida 33545.

9. After leaving the Publix grocery store, Brown was observed driving to a
residence located at 32349 Smart Drive, Zephyrhills, Florida 33545. Brown was
observed at the residence for approximately five minutes.

10. Brown was then observed stopping at an additional residential address
located at 3830 Loury Drive, Zephyrhills, Florida 33543. Brown was at the
aforementioned address for approximately ten minutes.

11. Brown was then observed returning to the PREMISES.

12. On February 21, 2023, at approximately 11:30 a.m., Brown was
observed leaving the PREMISES and entered the Gold Equinox. The Gold Equinox
was parked at 5024 Anclote River Street, Wesley Chapel, Florida 33545, which was
one street west of the PREMISES.

13. On February 21, 2023, at approximately 11:45 a.m., the FHP attempted
to initiate a traffic stop on the Gold Equinox for excessive window tint in violation of
Florida state law. The Gold Equinox failed to pull over and began to flee from FHP.
The Gold Equinox was then observed stopping at 35235 Janine Drive, Zephyrhills,
Florida 33541. FHP observed Brown fleeing from the Gold Equinox with a brown

plastic bag in his hand.
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14. A law enforcement perimeter was set near the traffic stop. A short time
later, Brown was spotted by a ZPD officer fleeing into the nearby woods at 35605
Wickingham Court, Zephyrhills, Florida 33541. The ZPD officer commanded
Brown to stop. Brown complied and was taken into law enforcement custody
without incident. During the search of Brown, the paper bag was not located.

15. Law enforcement began searching the nearby area where Brown was
observed fleeing from the Gold Equinox. Law enforcement located a white rocky
substance wrapped in cellophane on the grass behind the residence of 35234 Janine
Drive, Zephyrhills, Florida 33541. Additionally, law enforcement located a Publix
grocery store receipt that had a time and date stamp that coincided with the
timeframe that Brown was observed at Publix. In addition, a large package of a
crystal-like substance was observed on the roof of 35234 Janine Drive, Zephyrhills,
Florida 33541, Law enforcement retrieved the crystal-like substance from the roof of
that residence.

16. FHP conducted a field test of the white rocky substance that was
located on the grass behind 35234 Janine Drive, Zephyrhills, Florida 33541. The
field test revealed a positive indicator for fentanyl. FHP packaged the fentanyl for
evidence. The fentanyl was weighed at approximately 20.2 grams total package
weight.

17. FHP conducted a field test of the crystal-like substance that was located

on the roof of 35234 Janine Drive, Zephyrhills, Florida 33541. The field test revealed
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a positive indicator for methamphetamine. FHP packed the methamphetamine for
evidence. The methamphetamine was weighed at approximately 129.4 grams total
package weight.

18. Later, on February 21, 2023, at approximately 8:38 p.m., a search
warrant was issued by United States Magistrate Judge Christopher P. Tuite for
Brown’s residence at 32347 Fish Hook Loop, Wesley Chapel, FL.

19. Inthe evening of February 21, 2023, search team members from FBI
and PCSO conducted a search of the address. A clear plastic bag containing a
trafficking amount of suspected methamphetamine was recovered inside of a shoe
box in a hallway closet on the first floor of the residence next to the garage; three
clear bags of suspected marijuana were recovered on a living room table in plain
view; and $10,840 in U.S. currency was recovered in the master bedroom located in
plain view on bedroom furniture and in a shoe box underneath the bed. In addition,
various ammunition of different sizes were recovered. In my knowledge of the
investigation, Brown is a convicted felon and is not authorized to be in possession of
firearms or ammunition. An interstate nexus analysis of the ammunition was not
completed at the time this affidavit was submitted to the Court.

AUTHORIZATION REQUEST
20. Based on the foregoing, I have reason to believe that there is probable

cause that Larry Charvel Brown has violated 18 U.S.C. § 841 Possession with Intent
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to Distribute a Controlled Substance. I declare under penalty of perjury under the

laws of the United States of America that the forgoing is true and correct.

Qa

Special Agent Nathaniel M. Russ
Federal Bureau of Investigation

Sworn to before me and signed in my presence.this 2 4ay of February,

2023.

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HONORABLE CHRISTOPHER P. TUITE
United States Magistrate Judge
